        Case 2:19-cv-00276-WB Document 208 Filed 07/26/21 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE INJECTAFER PRODUCTS                               CIVIL ACTION
 LIABILITY LITIGATION

 This Document Relates To:

 CROCKETT v. LUITPOLD PHARMA.,                           NO. 19-276
 INC., NO. 19-276;

 KRUEGER v. LUITPOLD PHARMA.,
 INC., NO. 19-984

                                         ORDER

       AND NOW, this 26th day of July, 2021, upon consideration of Plaintiffs’ Motion for

Rule 42 Consolidation (ECF No. 205) and Defendants’ response thereto (ECF No. 206), IT IS

ORDERED that the Motion is DENIED.

                                                  BY THE COURT:


                                                  /s/Wendy Beetlestone, J.

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                                                  WENDY BEETLESTONE, J.
